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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 DOUGLAS MARZOUQ,

         Plaintiff,                                   Case No.

 v.

 U.S. DEPARTMENT OF EDUCATION,
 a foreign company,

      Defendant.
 __________________________/


                      COMPLAINT AND JURY DEMAND

         NOW COMES THE PLAINTIFF, DOUGLAS MARZOUQ,

 THROUGH COUNSEL, CREDIT REPAIR LAWYERS OF

 AMERICA, BY GARY D. NITZKIN, and for his Complaint against the

 Defendant, plead as follows:


                                JURISDICTION

      1. Jurisdiction of this court arises under 15 U.S.C. §1681p.

      2. This is an action brought by consumers for violation of the Fair Credit

         Reporting Act (15 U.S.C. §1681 et. seq [hereinafter “FCRA”] ).




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                                    VENUE


    3. The transactions and occurrences which give rise to this action

       occurred in Wayne County, Michigan.

    4. Venue is proper in the Eastern District of Michigan.


                                  PARTIES


    5. The Defendant to this lawsuit is U.S. Department of Education, which

       is a foreign company that maintains its principal office in Washington,

       D.C.


                           GENERAL ALLEGATIONS


    6. In 2012, Plaintiff’s wallet was stolen.

    7. Sometime in 2016, Plaintiff obtained his credit files and noticed that

       several student loans were reported that did not belong to him.

       Plaintiff has never attended college and hence, he never took out any

       student loans.

    8. On or about December 14, 2016, Plaintiff filed a police report with the

       Inkster Police Department regarding identity theft.


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    9. On or about January 27, 2017, Plaintiff obtained his credit files again

       and noticed that the Defendant Department of Education reported two

       trade lines that did not belong to him with account numbers

       90000034520XXXX and 90000034520XXXX (“Bogus Trade

       Lines”).

    10.On or about February 17, 2017, Plaintiff sent a letter to Equifax

       disputing the Bogus Trade Lines.

    11.Equifax forwarded Plaintiff’s consumer dispute to the Department of

       Education.

    12.In early March 2017, Equifax sent Plaintiff a correspondence

       requesting identifying information regarding Plaintiff in order to

       process his disputes.

    13.On March 23, 2017, Plaintiff sent a letter to Equifax, providing the

       requested documents and a copy of the February 17, 2017, dispute

       letter; requesting that Equifax respond to the original dispute letter.

    14.On or about April 2, 2017, Plaintiff received Equifax’s investigation

       results which showed that the Department of Education retained the

       Bogus Trade Lines.

    15.As a direct and proximate cause of the Defendant’s negligent and/or

       willful failure to comply with the Fair Credit Reporting Act, 15
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       U.S.C. § 1681 et seq., Plaintiff has suffered credit and emotional

       damages. Plaintiff has also experienced undue stress and anxiety due

       to Defendants’ failure to correct the errors in his credit file or improve

       his financial situation by obtaining new or more favorable credit terms

       as a result of the Defendants’ violations of the FCRA.



                                   COUNT I

   NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING
           ACT BY DEPARTMENT OF EDUCATION

    16.Plaintiff realleges the above paragraphs as if recited verbatim.

    17.After being informed by Equifax of Plaintiff’s consumer dispute to the

       Bogus Trade Lines, Department of Education negligently failed to

       conduct a proper investigation of Plaintiff’s dispute as required by 15

       USC 1681s-2(b).

    18.Department of Education negligently failed to review all relevant

       information available to it and provided by Equifax in conducting its

       reinvestigation as required by 15 USC 1681s-2(b). Specifically, it

       failed to direct Equifax to remove the Bogus Trade Lines from

       Plaintiff’s credit file.




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    19.The Bogus Trade Lines are inaccurate and creating a misleading

       impression on Plaintiff’s consumer credit file with Equifax to which it

       is reporting such trade lines.

    20.As a direct and proximate cause of Department of Education’s

       negligent failure to perform its duties under the FCRA, Plaintiff has

       suffered damages, mental anguish, suffering, humiliation and

       embarrassment.

    21.Department of Education is liable to Plaintiff by reason of its

       violations of the FCRA in an amount to be determined by the trier fact

       together with reasonable attorneys’ fees pursuant to 15 USC 1681o.

    22.Plaintiff has a private right of action to assert claims against

       Department of Education arising under 15 USC 1681s-2(b).



       WHEREFORE, PLAINTIFF PRAYS that this court grant him a

 judgment against the Defendant Department of Education for damages,

 costs, interest and attorneys’ fees.

                                        COUNT II

        WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING
               ACT BY DEPARTMENT OF EDUCATION

    23.Plaintiff realleges the above paragraphs as if recited verbatim.

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    24.After being informed by Equifax that Plaintiff disputed the accuracy

       of the information it was providing, Department of Education

       willfully failed to conduct a proper reinvestigation of Plaintiff’s

       dispute.

    25.Department of Education willfully failed to review all relevant

       information available to it and provided by Equifax as required by 15

       USC 1681s-2(b).

    26.As a direct and proximate cause of Department of Education’s willful

       failure to perform its respective duties under the FCRA, Plaintiff has

       suffered damages, mental anguish, suffering, humiliation and

       embarrassment.

    27.Department of Education is liable to Plaintiff for either statutory

       damages or actual damages he has sustained by reason of its

       violations of the FCRA in an amount to be determined by the trier

       fact, together with an award of punitive damages in the amount to be

       determined by the trier of fact, as well as for reasonable attorneys’

       fees and he may recover therefore pursuant to 15 USC 1681n.



       WHEREFORE, PLAINTIFF PRAYS that this court grant him a

 judgment against Department of Education for the greater of statutory or
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 actual damages, plus punitive damages, along with costs, interest and

 attorneys’ fees.



                              JURY DEMAND

       Plaintiff hereby demands a trial by Jury.


                              Respectfully submitted.


   November 20, 2018         /s/ Gary Nitzkin
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